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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     (Charlotte Division)

In re:                                               )   Chapter 11
                                                     )
WILLIAM PATRICK CUNE                                 )   Case No. 16-31409
And SALLIE ANN CUNE,                                 )
                                                     )
                             Debtors.                )

                     REPORT OF VOTING ON PLAN OF REORGANIZATION

        The above-named debtors, by and through the undersigned counsel, respectfully submit
the following as a report of ballots received for each class of claims and interest holders entitled
to vote and included in the Plan of Reorganization:

  Class                         Creditor Name                    Amount of Claim         Vote

   6        Merck Sharp & Dohme Federal Credit Union                    $8,066.91      ACCEPTS
   7        Merck Sharp & Dohme Federal Credit Union                   $24,025.00      ACCEPTS
   11       Merck Sharp & Dohme Federal Credit Union                    $5,168.05      ACCEPTS
    Class Summary                                         Number                    Amount

          Class 1              No Ballots Cast

          Class 2              No Ballots Cast

          Class 3              No Ballots Cast

          Class 4              No Ballots Cast

          Class 5              No Ballots Cast

          Class 6              Total Acceptances             1                       $8,066.91
                               Total Rejections              0

          Class 7              Total Acceptances             1                      $24,025.00
                               Total Rejections              0

          Class 8              No Ballots Cast

          Class 9              No Ballots Cast

          Class 10             No Ballots Cast

          Class 11             Total Acceptances             1                       $5,168.05
                               Total Rejections              0

          Class 12             No Ballots Cast



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        From the foregoing, it is respectfully submitted that the Plan Proponent has received the
requisite acceptances for confirmation of its Plan of Reorganization. Attached hereto as Exhibit
A are true and correct copies of the ballots cast on the Plan of Reorganization.

         This the 21st day of April, 2017.



                                          MOON WRIGHT & HOUSTON, PLLC


                                                 /s/ Richard S. Wright
                                          Richard S. Wright (Bar No. 24622)
                                          121 West Trade Street, Suite 1950
                                          Charlotte, North Carolina 28202
                                          Telephone: (704) 944-6560
                                          Counsel for the Debtors




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